Case 2:23-mj-00038-KFW Document 3-1 Filed 02/27/23 Page 1of20 PagelD#: 8

AFFIDAVIT OF DOMINIC CLOUTIER IN SUPPORT OF A CRIMINAL
COMPLAINT

Background

1. lama Task Force Officer with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF), where I have been assigned since May of 2022 and I am assigned to
the Portland, Maine Field Office. I have been a police officer with the Lewiston Police
Department since August 2012.
2g. During my employment as a law enforcement officer, I have participated in
numerous investigations relating to the unlawful possession of firearms. I have utilized
various investigative tools and techniques, including the use of cooperating witnesses,
physical surveillance, search warrants, and witness interviews.
3. I submit this affidavit in support of the filing of a criminal complaint charging
Jennifer Scruggs with violating Title 18, United States Code, Section 922(a)(6). The
information contained in this affidavit is based on my personal involvement in this
investigation, my training and experience, and information provided to me by other law
enforcement officers.

Scruggs’ Firearm Purchases Between March 2022 and June 2022
4. Between March 20, 2022, and June 17, 2022, Jennifer Scruggs purchased 55
firearms from three different Federal Firearm Licensees (FFL).1 The below chart reflects
the date and location of those purchases, the specific firearms that were purchased and

the specific false written/oral statement made by Scruggs when she completed ATF Form

 

‘ T have confirmed that Scruggs is not a licensed firearms dealer.

1
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4473.2 As the contents of this affidavit reflect, Scruggs’ statements were false because

Scruggs was actually purchasing the below-listed firearms on behalf of another person.

 

 

 

 

 

 

the firearm(s) listed on this
form? Warning: You are not
the actual buyer if you are
acquiring the firearm(s) on
behalf of another person. If
you are not the actual buyer,
the dealer cannot transfer
the firearm(s) to you.”

 

Date FFL False Statement Firearms Purchased
March 20, | Ballstown Defendant responded, “Yes” | (1) Beretta, Model Mg3A,
2022 Firearms, to question 11(a) of the ATF | 9mm Luger, Serial No.

Whitefield, | Form 4473, which asked Bo33014Z
Maine “Are you the actual buyer of
the firearm(s) listed on this (2) Smith & Wesson
form? Warning: You are not | (S&W), Model 469, 9mm,
the actual buyer if you are Serial No. TACo620
acquiring the firearm(s) on
behalf of another person. If | (3) Bernardelli, Model
you are not the actual buyer, | 80, 380 mm, Serial No.
the dealer cannot transfer 018514
the firearm(s) to you.”
March 28, | G3 Defendant responded, “Yes” | (1) Steyr, Model GB,
2022 Firearms, to question 11(a) ofthe ATF | 9mm, Serial No. P07255
Turner, Form 4473, which asked
Maine “Are you the actual buyer of | (2) Jiminez, Model JAg,

9mm, Serial No. 411599

(3) Jiminez, Model JAg,
omm, Serial No. 411663

(4) Jiminez, Model JAg,
omm, Serial No. 411802

(5) Kel-Tec, Model P11,
9mm, Serial No. T6368-
21AV11405

(6) SAR, Model SARg,
omm, Serial No. T-1102-
20HC51125

(7) S&W, Model Shield 380,
380mm, Serial No.
RJR8454

(8) Girsan, Model MC28,
9mm, Serial No. T6368-
21AV11130

 

 

2 A Firearms Transaction Record, or ATF Form 4473, is a six-page form prescribed by ATF
required to be completed when a person proposes to purchase a firearm from a FFL holder, such

as a gun dealer.

 
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(9) Girsan, Model MC28,
9mm, Model No T6368-
21AV10984

(10) Girsan, Model MC28,
omm, Serial No. T6368-
21AV10987

(11) Palmetto, Model ARV9,
omm, Serial No.

 

ARVBO9929
March 30, | G3 Defendant responded, “Yes” | (1) Palmetto, Model
2022 Firearms, to question 11(a) of the ATF | Dagger, 9mm, Serial No.
Turner, Form 4473, which asked FG036855

Maine “Are you the actual buyer of
the firearm(s) listed on this (2) Zastava, Model M70,
form? Warning: You are not | 38mm, Serial No. 122894
the actual buyer if you are (3) Sig Sauer, Model P365,
acquiring the firearm(s) on

gmm, Model No.
behalf of another person. If 66B422000
you are not the actual buyer, 43299
the dealer cannot transfer (4) Ruger, Model Pro-Duty,
the firearm(s) to you.” omm, Serial No. 860-38670

(5) Ruger, Model America,
9mm, Serial No. 860-12464

 

April 15, J.T. Reids | Defendant responded, “Yes” | (1) S&W, Model SDo, 9mm,

2022 Gunshop, to question 11(a) of the ATF Serial No. FYZ835
Auburn, Form 4473, which asked
Maine “Are you the actual buyer of (2) S&W, Model

the firearm(s) listed on this M&P380, 380mm, Serial
form? Warning: You are not | No. RJD1213

the actual buyer if you are (3) S&W, Model BG38,

acquiring the firearm(s) on 8mm. Serial No. CVF348
behalf of another person. If 8 , es

you are not the actual buyer, | (4) S&W, Model M&Po,
the dealer cannot transfer 9mm, Serial No. REY3277

the firearm(s) to you. (5) SDS Imp., Model
1911A1, 45acp, Serial No.
T0620-21221806

(6) SDS Imp., Model
1911A1, 9mm, Serial No.
To620-21K00182

 

 

 

 

 

 
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(7) Rock Island, Model
1911A1, 45acp, Serial No.
RIA2444881

(8) SDS Imp., Model
1911A1, 45acp, Serial No.
T0620-22203278

(9) Taurus, Model 856
(Revolver), .38 spl, Serial
No. ACN757068

(10) Charter Arms, Model
Lavender Lady, 38 spl,
Serial No. 22L29146

 

April 19, G3

Defendant responded, “Yes”

(1) Grand Power Stribog,

 

 

 

 

2022 Firearms, to question 11(a) of the ATF Model SP9A1, 9mm, Serial
Turner, Form 4473, which asked No. GSA25875 (Recovered);
Maine “Are you the actual buyer of
tha firearms) listed on this | @) Palmetto, Medel
form? Warning: You are not AHU, 9mm, Serial No.
the actual buyer if you are AKV0Z0271
acquiring the firearm(s) on
behalf of another person. If eee eit. a
you are not the actual buyer, sake , * 205
the dealer cannot transfer 453
the firearm(s) to you.” (4) Taurus, Model 856, 38
spl, Serial No.
AMMC620551
(5) Charter Arms, Model
Undercover, 38 spl,
Serial No. 21071854
(6) Beretta, Model 1943,
380mm, Serial No.
00508
May 8, J.T. Reids Defendant responded, “Yes” | (1) SDS Imp., Model
2022 Gunshop, to question 11(a) ofthe ATF | Faith, 380 acp, Serial No.
Auburn, Form 4473, which asked To0620-21J02284
Maine “Are you the actual buyer of

the firearm(s) listed on this
form? Warning: You are not
the actual buyer if you are
acquiring the firearm(s) on

 

(2) M&M Ind., Model
M10X-P, 7.62x39, Serial
No. Wo5598

 

 
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behalf of another person. If | (3) SDS Imp., Model

you are not the actual buyer, | Faith, 380 acp, Serial No.
the dealer cannot transfer T0620-21J02315

the firearm(s) to you.”

May 10, J.T. Reids Defendant responded, “Yes” | (1) Tristox/Metro, Model
2022 Gunshop, to question 11(a) ofthe ATF | AC1911, 38sup, Serial No.
Auburn, Form 4473, which asked A21-13546

Maine “Are you the actual buyer of
the firearm(s) listed on this | (2) Browning, Model
form? Warning: You are not | 1911-380, 380acp, Serial
the actual buyer if you are No. 51-HY2110101
acquiring the firearm(s) on | (Recovered)
behalf of another person. If
you are not the actual buyer,
the dealer cannot transfer
the firearm(s) to you.”
May 11, G3 Defendant responded, “Yes” | (1) Century pistol, Model
2022 Firearms, to question 11(a) ofthe ATF | Draco, 7.62x39, Serial
Turner, Form 4473, which asked No. ROA21DG1752
Maine “Are you the actual buyer of
the firearm(s) listed on this | (2) Grand Power Stribog,
form? Warning: You are not Model SAgA1, 9mm,
the actual buyer if you are Serial No. GSA25759
acquiring the firearm(s) on .
behalf of another person. If (3) Grand Power Stribog,
you are not the actual buyer, Model SAQA1, 9mm,
the dealer cannot transfer Serial No. GSA25518
the firearm(s) to you. (4) Palmetto, Model
PSAK47P, 7.62x39, Serial
No. P7012545
June 14, G3 Defendant responded, “Yes” | (1) Kel-Tec, Model P50,
2022 Firearms, to question 11(a) of the ATF | 5.7x28, Serial No.
Turner, Form 4473, which asked AAF428
Maine “Are you the actual buyer of
the firearm(s) listed on this _| (2) Ruger, Model PC
form? Warning: You are not | Charger, 9mm, Serial No.
the actual buyer if you are 913-60944
acquiring the firearm(s) on
behalf of. another person. If (3) CZ/ USA, Model -
you are not the actual buyer, Scorpion, 9mm, Serial
the dealer cannot transfer No. GO76417
the firearm(s) to you.”

 

 
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(4) Glock, Model 43X,
gmm, Serial No.
BXCC703

(5) Glock, Model 43X,
gmm, Serial No.
BNES856

(6) Glock, Model 43X,
gmm, Serial No.
AGPGO24

(7) HondR, Model 1871,
12g, Serial No. NZ515617

(8) CZ /USA, Model
Scorpion, 9mm, Serial
No. Go47866

 

 

 

 

 

 

 

June 17, G3 Defendant responded, “Yes” | (1) CZ/USA, Model
2022 Firearms, to question 11(a) ofthe ATF | Scorpion, 9mm, Serial
Turner, Form 4473, which asked No. G105371
Maine “Are you the actual buyer of
the firearm(s) listed on this | (2) Glock, Model 17,
form? Warning: You are not | 9mm, Serial No.
the actual buyer if you are BWFG892
acquiring the firearm(s) on
behalf of another person. If (3) Glock, Model 19,
you are not the actual buyer, | 9™™: Serial No.
the dealer cannot transfer BVTP766 (Recovered)
the firearm(s) to you.”
First Interview of Scruggs
5. On August 19, 2022, Lewiston Police Detective Tyler Martin and I interviewed

Jennifer Scruggs regarding her then-recent firearms purchases. During the interview,

Scruggs said the following:

- She was a regular user of both cocaine and crack cocaine and uses drugs weekly;

- She bought so many firearms because she does not trust banks;

 
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- Her financial plan was to buy firearms with her 401K money and cash, because
it was her belief that firearms will hold value better than cash in a bank;

_ She has medical issues -- including cancer and injuries sustained from a car
accident -- which prompted her to buy the firearms to leave to her son should she pass
away;

- She stores all her firearms at her brother’s residence;

_ Two of the firearms that she had purchased were stolen when she let two
individuals (hereinafter Individual 1 and Individual 2) stay at her residence for a night;

- She kept two of the firearms that she bought in her home, one in her bedroom
and the other hidden in the couch cushions;

- Individual 1 and Individual 2 slept on the two couches when they went to bed
and Scruggs could not find the firearms the following day after they left;

- She has lost multiple cell phones in the previous six months and primarily
communicates through Facebook Messenger App;

- She contacted Individual 1 and Individual 2 using the Facebook Messenger App
to get Individual 1 to return the stolen firearms;

- Scruggs did not report the stolen firearms to the Androscoggin County
Sherriff's office;

- Individual 1 did not return the firearms when asked;

- Scruggs and her boyfriend drove to Los Angeles CA shortly after the last
purchase of firearms in June 2022;

- Her boyfriend is in the construction business and had a job to install bathroom

tile in a residence in a suburb of Los Angeles CA; and
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- While they drove her boyfriend’s work truck to CA, they left her boyfriend’s
work truck in CA and flew home.
Interview of Scruggs’ Brother
6. I conducted a follow-up interview with Scruggs’ brother at his residence on
August 22, 2022. During this interview, Scruggs’ brother told me that he is not storing
— nor was he ever asked to store — any firearms for his sister. He also told me that his
sister was a drug user and a liar, and that he did not think she was sick. Scruggs’ brother
has observed physical signs of drug abuse by his sister — specifically, he saw her arrive
three hours late to her son’s birthday party in January 2022 looking sweaty and sick.
Scruggs’ brother made clear that his relationship with his sister has been rough and that
he finds her to be toxic. The last time he saw her was approximately 6 months ago.
Scruggs’ brother permitted me to inspect his gun safe to confirm he was not storing any
of his sister’s firearms.
Second Interview of Scruggs
2, I conducted a second interview of Scruggs on August 26, 2022. During this
interview, she told me the following:
_ The firearms were actually being stored with her boyfriend’s? cousin and uncle
but she did not know their names; and
- She did not know that her boyfriend had changed his mind about storing the

firearms with her brother and decided to store them with his family.

 

3 Scruggs’ boyfriend is convicted of domestic violence assault and is prohibited from possessing
firearms.

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August 30, 2022 California Firearm Seizure
8. On August 30, 2022, the Los Angeles Police Department recovered one of the 55
firearms Scruggs had purchased while responding to a negligent discharge complaint.
The suspect discharged the firearm into the air multiple times, reportedly yelling
“Crypts.” The recovered firearm was the Browning model 1911, pistol, .380 acp, serial
number 51-HY2110101 purchased from J.T. Reids Gunshop on May 10, 2022.
Third Interview of Scruggs
9. On October 21, 2022, I spoke with Scruggs a third time. During this interview,
Scruggs told me that the firearms she purchased between March 20, 2022 and June 17,
2022 were purchased for two other people (hereinafter Individual 3 and Individual 4)—
who then transported the firearms by vehicle to California. Scruggs stated Individuals 3
and 4 were the only two people who told her what to buy and that they were outfitting a
gang in California, but she was not allowed to meet any of the gang members.
Scruggs’ Facebook Messenger Account
10. applied for and received a search warrant for Scruggs’ Facebook Messenger
account. Upon reviewing her account, I observed several conversations indicating that
Scruggs purchased firearms for Individuals 3 and 4.
11. OnJune 13, 2022, Individual 3 and Scruggs conversed over Facebook Messenger.
During this conversation, Scruggs and Individual 3 discuss Scruggs’ travel to G3

Firearms in Turner:
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12.  Indivudal 3 also sent four images (below) of firearms from Gg Firearms on June

13, 2022. The images included the price of the item. The firearms these images depict

are as follows:

1) Ruger
2) Glock
3) Glock
4) Kel Tec

PC
43)
43

P50

 

omm - $685.00
9mm - $489.00
9mm - $520.00
5.7X28- $1029.00

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13. Individual 3 sent the below message on June 14, 2022 to Scruggs. Based on my
training and experience, I know that Grand Powers and Scorpions are firearms models.

Scorpion is the model of a firearm manufactured by CZ (Ceska Zbrojovka).

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14. | Comparing the description of firearms purchased by Scruggs from G3 Firearms
on June 14, 2022 to the Facebook Messenger conversation with Individual 3, Scruggs
purchased all the firearms Individual 3 dictated to her in the Facebook messages. The
only firearm Scruggs purchased that Individual g did not dictate to her was the 12-gauge
shotgun.

15.  Seruggs sent a message to Indiviudual 3 on June 14, 2022 explaining that she

almost finished the purchase and sent an image of cash on the counter at G3 Firearms.

 

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16. _ Lalso observed the following message Scruggs sent to Individual 4 in which she
explained that she needed a government printed document with her current address,
because her ID hada P.O. Box for an address. Scruggs stated that she planned to obtain
a hunting / fishing license to overcome this hurdle. Scruggs states to Indivudal 4 that
“they” are all his after hp finishes the purchase. I interpret “they” as being a reference

|
to the firearms she was purchasing.

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17.  Seruggs also had a running conversation with another individual, hereinafter
Individual 5, on June 14, 2022. I know from my involvement in this investigation that
Individual 5 had a personal relationship with Individual 4. In the conversation, Scruggs
asked Individual 5 if he/she would like to “go pick up [Individual 3’s] order” with her.
Scruggs also mentioned how she must get a hunting fishing license. Scruggs explained

how there is “so much red tape.”

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18. Seruggs also hada convsersation with another individual, hereinafter Individual

6. During this conversation, Scruggs discussed her trip to California and how she met

Indivusal 3 and Individual 4's “crypt” boss and their “cartel” hook up.

| 16
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Individual 3 Car Rental / Interview of Individual 7
19. I founda conversation in Scruggs’ Facebook Messenger where Scruggs discussed
a Portland rental car a few days prior to Scruggs’ trip to California. I contacted several
rental car agencies in the Portland area and found that Individual 3 rented a vehicle
from Avis on June 18, 2022. Law Enforcement License Plate Reader (LPR) machines
show the car Individual 3 rented hit multiple license plate readers traveling across the
country from Maine to Los Angeles in the days following the rental. The rental
agreement reflected a Speonslary driver of an individual hereinafter referred to as
Individual 7.

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20. I located and interviewed Individual 7, who told me that she was a sexual partner
of Individual 3, and that she just went along for the ride to California. Induvial 7
explained that she was offered a free trip to California, and that she had friends in Los
Angeles. According to Induvial 7, three people traveled in the rental car to California:
Individual 3, herself and a girl named “Jen.” Individual 7‘s description of “Jen” matched
Scruggs’ appearance and Induvial 7’s description of the trip to California was consistent
with Scruggs’ Facebook messages regarding her travel plans.

Recovery of Glock 19 Purchased on June 17, 2023
21. I received notification on February 23, 2023 from the National Tracing Center
that the Glock, model 19, 9mm, Serial No. BVTP766 that Scruggs had purchased from
G3 Firearms on June 17, 2023 was recovered by the Los Angeles Police Department on
February 18, 2023 in Los Angeles, California.

Conclusion

22, Based on the information detailed above, there is probable cause to believe that
violations of Title 18, United States Code, Section 922(a)(6) have occurred. I respectfully
request the Court issue a criminal complaint charging Jennifer Scruggs with the offence

of providing a false statement during the acquisition of firearms, in violation of Title 18

USC § 922(a)(6). JL.
en

Task Force Officer
Bureau of Alcohol, Tobacco, Firearms & Explosives

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Sworn to telephonically and signed
electronically in accordance with the
requirements of Rule 4.1 of the Federal Rules
of Criminal Procedures

Date: Feb 27 2023 LA, immmeine—7 |

Judges signature

City and state: Portland, Maine Karen Frink Wolf. U.S Magistrate Judge
Printed name.and fitle

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